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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 RICHARD HAMMONS,

         Petitioner,

 v.                                                          CASE NO. 8:01-CV-1760-T-30TGW
                                                                      8:00-CR-097-T-30TGW
 United States of America,

      Respondent.
 ______________________________/

                                              ORDER

         Petitioner initiated this action by filing a motion to vacate, set aside, or correct his

 sentence under 28 U.S.C. § 2255 (CR Dkt. 147/CV Dkt. 1). Petitioner filed an amended

 motion on January 4, 2002 (CR Dkt. 159). The Government has filed a response to the

 motion (CR Dkts. S-441 and 168), and Petitioner has filed a reply thereto (CR Dkt. 169).

 The matter is now before the Court for consideration on the merits.

                                             Background

         On March 28, 2000, a federal grand jury returned a two-count indictment charging

 Petitioner with conspiracy to possess with intent to distribute a mixture and substance

 containing a detectable amount of marijuana, a Schedule I controlled substance, contrary

 to the provisions of 21 U.S.C. §§ 841(a)(1) and 846 (Count One), and possession with

 intent to distribute a mixture and substance containing a detectable amount of marijuana,

 a Schedule I controlled substance, contrary to of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2

 (Count Two) (CR Dkt. 8). The First Superseding Indictment, returned on April 25, 2000,


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          The Court granted the Government’s motion to seal its in camera response to Petitioner’s § 2255
 motion (CR Dkt. S-43).
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 realleged the charges against Petitioner, Counts One and Two, and added a drug charge

 against co-defendant Alejandro Tamayos-Ramos, Count Three, which is not relevant to

 these proceedings (CR Dkt. 39). Represented by retained counsel, Petitioner entered into

 a plea agreement on June 13, 2000, whereby he agreed to enter a plea of guilty to Count

 One of the First Superseding Indictment in exchange for the Government’s promise to

 dismiss Count Two at sentencing (CR Dkt. 62 at 1). As one of the terms of his plea

 agreement, Petitioner expressly waived his right to appeal his sentence:

         directly or collaterally, on any ground except for an upward departure by the
         sentencing judge or a sentence above the statutory maximum or a sentence
         in violation of the law apart from the sentencing guidelines; provided,
         however, that if the government exercises its right to appeal the sentence
         imposed, as authorized by 18 U.S.C. § 3742(b), the defendant is released
         from this waiver and may appeal the sentence as authorized by 18 U.S.C. §
         3742(a).

 (Id. at 12). On June 30, 2000, Petitioner appeared with counsel and entered a plea of guilty

 to Count One of the indictment (CR Dkt. 81), which the Court accepted on July 19, 2000

 (CR Dkt. 97). Petitioner was sentenced in camera on November 17, 2000, to a term of

 sixty (60) months imprisonment, to be followed by a 36-month term of supervised release,

 and assessed a $100,000.00 fine, and the Government dismissed Count Two of the First

 Superseding Indictment (CR Dkt. S-28). Petitioner did not file an appeal. Conforming the

 judgment to the oral pronouncement at sentencing,2 the Court entered an Amended

 Judgment on March 29, 2001, to correct a scrivener’s error (CR Dkt. S-30).


         2
           The sentence in a federal criminal case is the punishment imposed orally by a sentencing judge in
 a defendant's presence. The written judgment and commitment order is not the sentence. Therefore, where
 a sentence that is pronounced orally unambiguously conflicts with the written order of judgment, the oral
 pronouncement controls. See United States v. Ridgeway,319 F.3d 1313 (11th Cir. 2003). When such a
 conflict arises, the proper remedy is for the district court to correct the error in the written judgment pursuant
 to Fed. R. Crim. P. 36. See United States v. Portillo, 363 F.3d 1161, 1164-65 (11th Cir. 2004). See also Cook
 v. United States, 426 F.2d 1358, 1360 (5th Cir. 1970), cert. denied, 398 U.S. 932 (1973) (finding that “Rule
 36 is the appropriate remedy to make the judgment and commitment papers conform to the sentence
 pronounced orally”).

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        On September 12, 2001, Petitioner filed the instant motion seeking relief pursuant

 to 28 U.S.C. § 2255 (CR Dkt. 147/CV Dkt. 1). Petitioner filed an amended § 2255 motion

 on January 4, 2002 (CR Dkt. 159) and a memorandum of law in support thereof (CR Dkt.

 160). In his motion, Petitioner asserts the following claims for relief:

        1.     Trial counsel was ineffective for failing to challenge the Court’s
               failure to apply a reduction in the sentence pursuant to 5K1.1
               for substantial assistance as shown by assisting authorities in
               the investigation of others;

        2.     Trial counsel was ineffective when he made a feeble attempt
               to challenge or the . . . Court committed error when it ran prior
               terms of supervised release consecutively with each other,
               when they were originally ran concurrent by and under a plea
               agreement prior to September 13, 1994, for concurrent terms
               of imprisonment and concurrent terms of supervised release;

        3.     Trial counsel was ineffective with his feeble challenge and the
               Court erred by classifying [petitioner] as a career offender;

        4.     Trial counsel was ineffective when he made a feeble attempt
               to object to the Court classifying him as a leader, or the Court
               erred pursuant to the 3B1.1(a) which has increased
               [Petitioner’s] base level by (4) levels, by using protected
               information gained through U.S.S.G. § 1B1.8 while in a proffer;

        5.     Trial counsel was ineffective when he failed to file notice of
               appeal or follow up on appeal as requested by [Petitioner];

        6.     Trial counsel was ineffective at sentencing [when he] made a
               feeble attempt to challenge sentencing issues, such as §
               3B1.1(a)[,] 1B1.8[,] and Chapter Four 4B1.1 enhancements;

        7.     The Court has illegally amended [Petitioner’s] fine without
               adequate notice, a complete denial of the Due Process,
               Fourteenth Amendment and violation of the Eighth
               Amendment, harsh[,] cruel[,] and unusual punishment; and

        8      The . . . Court and Attorney committed error in allowing
               prosecution [where] the agents and the U.S. Attorney’s office
               have acted reckless in employing him into a (CI) role before
               getting proper permission from the Parole Commission, while
               he was on Supervise[d] Release.


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 CR Dkt. 159. In response to the petition, the Government asserts that because Petitioner

 waived his right to appeal, directly or collaterally, in his plea agreement, the motion should

 be denied (CR Dkt. S-44 at 3-4). For reasons set forth below, the Court agrees.

                                     Standard of Review

          Title 28 U.S.C. § 2255 sets forth the framework for reviewing a federal prisoner's

 sentence for any of the following four reasons: (1) the sentence was imposed in violation

 of the Constitution of the United States; (2) the court was without jurisdiction to impose

 such a sentence; (3) the sentence was in excess of the maximum authorized by law; or (4)

 the sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. Case law

 establishes that only constitutional claims, jurisdictional claims, and claims of error so

 fundamental as to have resulted in a complete miscarriage of justice are cognizable on

 collateral attack. See United States v. Addonizio, 442 U.S. 178, 185 (1979); Hill v. United

 States, 368 U.S. 424, 428 (1962); Richards v. United States, 837 F.2d 965, 966 (11th Cir.

 1988).

          It is well-settled that sentence-appeal waivers are valid if made knowingly and

 voluntarily. See United States v. Bushert, 997 F.2d 1343, 1350-51 (11th Cir. 1993). Guilty

 pleas waive all but jurisdictional claims up to the time of the plea, see Tollett v. Henderson,

 411 U.S. 258, 266-67 (1973); Stano v. Dugger, 921 F.2d 1125, 1150 (11th Cir.), cert.

 denied, 502 U.S. 835 (1991), and foreclose most claims from collateral attack, see United

 States v. Broce, 488 U.S. 563, 569 (1989). This waiver includes constitutional claims. See

 Wilson v. United States, 962 F.2d 996 (11th Cir. 1992) (pre-plea ineffectiveness waived);

 Dermota v. United States, 895 F.2d 1324 (11th Cir.) (double jeopardy claim waived), cert.

 denied, 498 U.S. 837 (1990). Finding that “a valid sentence-appeal waiver, entered into

 voluntarily and knowingly, pursuant to a plea agreement, precludes the defendant from

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 attempting to attack, in a collateral proceeding, the sentence through a claim of ineffective

 assistance of counsel during sentencing” the Eleventh Circuit opined that to hold otherwise

 would “permit a defendant to circumvent the terms of the sentence-appeal waiver simply

 by recasting a challenge to his sentence as a claim of ineffective assistance, thus rendering

 the waiver meaningless.” Williams v. United States, 396 F.3d 1340, 1342 (11th Cir. 2005).

                                              Discussion

         When Petitioner executed his plea agreement, he waived all but jurisdictional claims

 up to the time of the plea. See Tollett v. Henderson, 411 U.S. at 266-67. As set forth supra,

 pursuant to the plea agreement Petitioner executed, he waived his right to appeal, directly

 or collaterally, any factual or legal finding made by the Court in calculating the appropriate

 guideline range, unless the Court upwardly departed or the Government appealed. The

 waiver includes claims of ineffective assistance of counsel at sentencing. See Williams,

 396 F.3d at 1342.

         In the plea agreement, Petitioner was placed on notice regarding the mandatory

 minimum and maximum terms of imprisonment for the drug charge to which he agreed to

 plead guilty (CR Dkt. 62 at 1).3 At sentencing, trial counsel successfully argued that the

 Eleventh Circuit’s holding in United States v. Rogers, 228 F.3d 1318 (11th Cir. 2000)

 (stating that “drug quantity in sections 841(b)(1)(A) and 841(b)(1)(B) cases must be

 charged in the indictment and proven to a jury beyond a reasonable doubt.”), and the rule

 set out in Apprendi v. New Jersey, 530 U.S. 466 (2000) (finding that a maximum sentence

 set by statute trumps a higher sentence set forth in the sentencing guidelines), required the



         3
         See 21 U.S.C. § 846 (“[a]ny person who attempts or conspires to commit any offense defined in this
 subchapter shall be subject to the same penalties as those prescribed for the offense, the commission of
 which was the object of the attempt or conspiracy”); 21 U.S.C. § 841(a)(1).

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 Court to sentence Petitioner under § 841(b)(1)(D)4 to a term not greater than 60 months

 imprisonment (CR Dkt. 159 at 2). The Government did not file an appeal. Thus, Petitioner’s

 waiver of his right to challenge his sentence is controlling. See Williams, 396 F.3d at 1342.

 See also United States v. Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001).

         In reply to the Government’s response, Petitioner argues that “the written waiver

 contained in Petitioner’s plea agreement, standing alone, will not support the Government’s

 position that [Petitioner] has in fact waived all of his direct and collateral appellate rights”

 (CR Dkt. 169 at 4). In the process of deciding this motion, the Court has examined the

 transcript of the Rule 11 colloquy, sealed at the request of the Government. See CR Dkt.

 S-45. Without elaborating on the contents of the sealed transcript, the Court finds that a

 thorough Rule 11 colloquy was conducted, including a determination that Petitioner was

 competent at the time he entered his plea; a detailed review of the terms of the plea

 agreement, the charges, and the consequences of those charges; the rights Petitioner was

 giving up under the agreement, including the right to appeal, directly or collaterally; the

 mandatory minimum sentence and maximum sentence for the offense; the factual basis

 for the charges; and the fact that Petitioner was entering his plea voluntarily and knowingly

 without any threats, force, or coercion, or any promises having been made to him that were

 not a part of the written plea agreement. Id. Petitioner acknowledged under oath that he

 had read the plea agreement and understood the terms set forth therein. Id. at 11. When



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           “In the case of less than 50 kilograms of marihuana, . . . such person shall, except as provided in
 paragraphs (4) and (5) of this subsection, be sentenced to a term of imprisonment of not more than 5 years,
 a fine not to exceed the greater of that authorized in accordance with the provisions of Title 18, or $250,000
 if the defendant is an individual . . . . Notwithstanding section 3583 of Title 18, any sentence imposing a term
 of imprisonment under this paragraph shall, in the absence of such a prior conviction, impose a term of
 supervised release of at least 2 years in addition to such term of imprisonment and shall, if there was such
 a prior conviction, impose a term of supervised release of at least 4 years in addition to such term of
 imprisonment.” 21 U.S.C. § 841(b)(1)(D).

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 he executed the document, Petitioner certified that he had read the agreement and

 understood the terms thereof. See CR Dkt. 62 at 18. See also CR Dkt. S-45 at 11-12. The

 magistrate judge reviewed the appeal waiver provisions of the plea agreement with

 Petitioner during the Rule 11 colloquy (CR Dkt. S-45 at 16-17). Having reviewed the

 transcript of the Rule 11 colloquy and the plea agreement executed by Petitioner, the Court

 is satisfied that Petitioner understood the full significance of the waiver.

        Petitioner also argues that the waiver should not be enforced because references

 were made to an appeal being brought on his behalf during sentencing. As stated supra,

 Petitioner’s sentencing was held in camera, and the transcript of the sentencing proceeding

 is sealed. The Court has closely reviewed said transcript and finds several instances

 where trial counsel advised the Court that he was preserving an issue for appeal (CR Dkt.

 S-21 at 24, 27; S-29 at 2, 8-9,16). The Court acknowledged that his decision on the

 application of the sentencing guidelines might be reviewed by the appellate court, but did

 not, at any time, tell Petitioner that he was not bound by the appeal waiver. In fact, upon

 imposing sentence, the Court advised Petitioner that “to the extent permitted by your plea

 agreement, you have the right of appeal from the judgment and sentence within ten days

 from this date.” Thus, Petitioner’s arguments fail in this regard.

        Petitioner negotiated an agreement with the Government regarding the disposition

 of his criminal charges and entered a guilty plea pursuant thereto (CR Dkt. S-27). A guilty

 plea is not “a mere gesture, a temporary and meaningless formality reversible at the

 defendant's whim. . . , but a ‘grave and solemn act,’ which is ‘accepted only with care and

 discernment.’" United States v. Hyde, 520 U.S. 670, 677 (1997) (citation omitted).       In

 United States v. Jones, the Eleventh Circuit stated:



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        [W]e have consistently considered written plea agreements to be part of the
        record of the Rule 11 hearing. See United States v. Hourihan, 936 F.2d 508,
        (11th Cir. 1991); United States v. Bell, 776 F.2d 965, 969 (11th Cir. 1985),
        cert. denied, 477 U.S. 904, 106 S.Ct. 3272, 91 L.Ed.2d 563 (1986). See also
        United States v. Padilla, 23 F.3d 1220, 1221-22 (7th Cir. 1994) (looking to
        written plea agreement to determine if defendant knew of mandatory
        minimum sentence). We hold that where a signed, written plea agreement
        describing a mandatory minimum sentence is specifically referred to during
        a Rule 11 plea colloquy, the core principle that the defendant be aware of the
        consequences of his plea has been complied with [and] [t]he defendant's
        substantial rights were not violated.

 143 F.3d 1417, 1420 (11th Cir. 1998). In this circuit, "[a] plea agreement is, in essence,

 a contract between the Government and a criminal defendant. Among the considerations

 that a defendant may offer as part of such a contract is waiver of his right to appeal,

 provided that the waiver is made knowingly and voluntarily. . . . [t]he plea agreement is .

 . . enforceable." United States v. Howle, 166 F.3d 1166, 1168 (11th Cir. 1999) (citation

 omitted). See also United States v. Pease, 240 F.3d 938 (11th Cir. 2001).

        The claims Petitioner asserts in his § 2255 motion do not fall within the exceptions

 to his appeal waiver, which would have permitted him to appeal only an upward departure

 from his guidelines range, a sentence imposed in excess of the statutory maximum, or a

 sentence imposed in violation of law apart from the sentencing guidelines (CR Dkt. 62 at

 12). See United States v. Bushert, 997 F.2d at 1351 (courts will enforce waivers of appeal

 if made knowingly and voluntarily).

        After observing Petitioner in court, querying him under oath regarding his

 understanding of the proceedings and the charges against him, and reviewing the terms

 of the plea agreement, paragraph by paragraph, with him, the magistrate judge found as

 follows:

        After cautioning and examining [Petitioner] under oath concerning each of the
        subjects mentioned in Rule 11, I determined that the guilty plea was
        knowledgeable and voluntary as to this count, and that the offense charged

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        is supported by an independent basis in fact containing each of the essential
        elements of such offense. I therefore recommend that the plea of guilty be
        accepted and that the [Petitioner] be adjudged guilty and have sentence
        imposed accordingly.

 CR Dkt. 84.     Petitioner has not presented any basis for the Court to question the

 magistrate’s findings. Statements by a defendant at the Rule 11 proceedings are accepted

 as conclusive unless he reasonably alleges why this should not be so. See United States

 v. Gonzalez-Mercado, 808 F.2d 796, 800 n.8 (11th Cir. 1997). Petitioner fails to meet this

 burden.

        Petitioner does not assert that he did not know that the appeal waiver was included

 in the plea agreement. The language in the plea agreement is clear and unambiguous, and

 there is nothing in the record to overcome the persuasive evidence of Petitioner's

 statements at the plea hearing. He cannot now successfully claim ignorance of its affect

 on his right to appeal.

        Enforcing the appeal waiver is merely holding Petitioner to the bargain he made.

 Petitioner has had the benefit of his bargain – the possession charge was dismissed (CR

 Dkt. S-27). The Government is likewise entitled to the benefit of its bargain. Petitioner

 cannot circumvent the terms of his plea agreement merely because he does not like the

 outcome at sentencing. See Bushert, 997 F.2d at 1350. He was not promised anything that

 he did not receive, and he has received no punishment greater than that originally assigned

 him in the plea agreement.

                                          Conclusion

        Having reviewed the record, arguments presented by the parties, applicable

 statutes, and controlling case law in this circuit, the Court finds that by virtue of his guilty

 plea and sentencing appeal waiver, Petitioner has waived his right to seek collateral relief


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  under § 2255.

           ACCORDINGLY, the Court ORDERS that:

           1.   Petitioner’s motion to vacate, set aside, or correct an allegedly illegal

                sentence (CR Dkt. 159) is DENIED.

           2.   The Clerk is directed to enter judgment against Petitioner, terminate any

                pending motions, and close Case No. 8:01-CV-1760-T-30TGW.

           DONE and ORDERED in Tampa, Florida on July 21, 2005.




  Copies furnished to:
  Counsel/Parties of Record

  SA:jsh




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